             Case 2:19-cv-00523-RSM Document 107 Filed 10/28/21 Page 1 of 4




 1                                                                  The Honorable Ricardo S. Martinez
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 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE
 8
      AMAZON.COM, INC., a Delaware corporation,
 9                                                            No. 2:19-cv-00523-RSM
                                 Plaintiff,
10                                                            JOINT MOTION TO SET ASIDE
                                 v.                           ENTRY OF DEFAULT AND FOR
11                                                            ENTRY OF STIPULATED
      ROY ORON, an individual; MAAYAN                         PERMANENT INJUNCTION AS
12    MARZAN (aka MAAYAN ALMOG), an                           TO DEFENDANT MAAYAN
      individual; CLICKOMY, LTD., an Israeli                  MARZAN AND ORDER
13    company; RASHEED ALI, an individual;
      PETER BRADFORD, an individual; CASH                     NOTED FOR CONSIDERATION:
14    NETWORK, LLC, a Nevada limited liability                October 28, 2021
      company; JEFFREY GILES, an individual;                  without oral argument
15    DALE BROWN, an individual; FIRST
      IMPRESSION INTERACTIVE, INC., an Illinois
16    corporation; and JOHN DOES 1–10,
17                               Defendants.
18

19           Pursuant to Federal Rules of Civil Procedure 55 and 58, Plaintiff Amazon.com, Inc. and
20    Defendant Maayan Marzan (“Marzan”) (collectively “Parties”), by and through their respective
21    counsel of record or themselves, hereby jointly move for the setting aside of the entry of default
22    against Marzan (Dkt. # 95) and notify the Court that the Parties have reached a settlement of all
23    claims in this matter. Pursuant to the terms of that settlement, the Parties stipulate and agree to
24    entry of the permanent injunction below.
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     STIPULATED PERMANENT INJUNCTION                                           Davis Wright Tremaine LLP
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             Case 2:19-cv-00523-RSM Document 107 Filed 10/28/21 Page 2 of 4




 1           DATED: October 28, 2021
 2

 3    DAVIS WRIGHT TREMAINE LLP                  MAAYAN MARZAN

      By s/Tim Cunningham                         s/Maayan Marzan
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      Attorneys for Plaintiff Amazon.com, Inc.
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     STIPULATED PERMANENT INJUNCTION                             Davis Wright Tremaine LLP
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 1    ORDER GRANTING JOINT MOTION TO SET ASIDE DEFAULT JUDGMENT AND
 2                           FOR ENTRY OF PERMANENT INJUNCTION
 3           Pursuant to the Parties’ stipulation and for good cause shown, the motion to set aside
 4    the entry of default against Defendant Maayan Marzan is GRANTED. Fed. R. Civ. P. 55(c).
 5    The Clerk’s Order Granting Motion for Default (Dkt. # 95) entered against Defendant Maayan
 6    Marzan on May 5, 2020, is hereby VACATED.
 7           Pursuant to the above stipulation of the Parties, IT IS HEREBY ORDERED that
 8    Defendant Maayan Marzan and his respective directors, shareholders, officers, employees,
 9    agents, successors and assigns, and all others in active concert or participation with him, are
10    enjoined and restrained from:
11           1.      Using counterfeit versions of any trademarks registered by Amazon (or its
12    subsidiary, Amazon Technologies, Inc.) as of this injunction’s entry date with any advertising,
13    marketing, offer for sale, promotion, display, publication, website, voicemail, email, or
14    software;
15           2.      Using any false designation of origin or false or misleading description or false
16    or misleading representation that can or is likely to lead the trade or public or individuals
17    erroneously to believe that any website, voicemail, email, advertising, or other marketing
18    materials has been produced, distributed, displayed, licensed, sponsored, approved or
19    authorized by or for Amazon, when such is not true in fact;
20           3.      Engaging in any other activity constituting an infringement or dilution of any
21    trademarks registered by Amazon (or its subsidiary, Amazon Technologies, Inc.), or of the
22    Amazon parties’ rights in, or right to use or to exploit, such trademarks or services marks for
23    the pecuniary benefit of Maayan Marzan; and
24           4.      Knowingly and materially assisting any other person or business entity in
25    engaging in or performing any of the activities listed above.
26           Additionally, the Court shall retain continuing jurisdiction over this matter for the
27    limited purposes of enforcing the terms of the Parties’ settlement agreement and this Stipulated

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 1    Permanent Injunction.
 2           DATED this 28th day of October, 2021.
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 5                                              A
                                                RICARDO S. MARTINEZ
 6                                              CHIEF UNITED STATES DISTRICT JUDGE
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